                 Case 2:21-cv-01399-LK Document 72 Filed 01/02/24 Page 1 of 2




 1                                                             THE HONORABLE LAUREN J. KING

 2

 3

 4

 5

 6

 7                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE
 9

10
     PREMERA BLUE CROSS,                                   Case No. 2:21-cv-01399-LK
11
                        Plaintiff,                         JOINT STATUS REPORT
12
            v.
13
     GS LABS, LLC,
14
                        Defendant.
15

16          Premera Blue Cross and GS Labs, LLC (collectively, the “Parties”) submit this joint status

17   report in accordance with the Court’s October 31, 2023 Order (Dkt. No. 67) directing the Parties

18   to advise as to the progress of settlement discussions.

19          The Parties are making progress in settlement discussions regarding resolution of this

20   matter. Those discussions remain ongoing, including the time-intensive effort of aligning their

21   respective large claims-data sets. The Parties anticipate a meeting of the relevant stakeholders and

22   internal claims data experts to resolve any remaining discrepancies in the data sets. Accordingly,

23   the Parties jointly request what they hope will be the final extension of the stay in this matter for

24   an additional 30 days to allow their settlement negotiations to continue. The Parties jointly propose

25   to provide the Court with a status report on or before February 2, 2024.

26
     JOINT STATUS REPORT
                                                     -1-                     KILPATRICK TOWNSEND & STOCKTON LLP
                                                                               1420 FIFTH AVENUE, SUITE 3700
                                                                                     SEATTLE, WA 98101
     CASE NO. 2:21-CV-01399-LK                                                        TEL: (206) 626-7713
                                                                                      FAX: (206) 260-8946
               Case 2:21-cv-01399-LK Document 72 Filed 01/02/24 Page 2 of 2




 1   Dated: January 2, 2024

 2   IT IS SO STIPULATED:

 3   Counsel for Plaintiff Premera Blue              Counsel for Defendant GS Labs, LLC
     Cross
 4                                                    DAVIS WRIGHT TREMAINE LLP
     KILPATRICK TOWNSEND &
 5   STOCKTON LLP
                                                                      By: /s/ Jaime Drozd
 6   By: /s/ Gwendolyn C. Payton                         Jaime Drozd, WSBA No. 35742
     Gwendolyn C. Payton, WSBA No.                                 jaimedrozd@dwt.com
 7   26752                                                  Ross Siler, WSBA No. 46486
     gpayton@kilpatricktownsend.com                                     rossiler@dwt.com
 8   1420 Fifth Ave., Suite 3700                            920 Fifth Avenue, Suite 3300
     Seattle, WA 98101                                                 Seattle, WA 98104
 9   T: (206) 626-7714                                                  T: (206) 757-8039
     F: (206) 623-6793                                                  F: (206) 757-7700
10
     ROBINS KAPLAN LLP                                    Nicole S. Phillis (pro hac vice)
11                                                     865 S. Figueroa Street, Suite 2400
     By: /s/ Jeffrey S. Gleason                                  Los Angeles, CA 90017
12   Jeffrey S. Gleason (pro hac vice)                                T: (213) 633-8657
     JGleason@robinskaplan.com                                        F: (213) 633-6899
13   Geoffrey H. Kozen (pro hac vice)
     gkozen@robinskaplan.com                                  HUSH BLACKWELL LLP
14   Stephanie A. Chen (pro hac vice)
     SChen@robinskaplan.com                                       By: /s/ Jeffrey B. Jensen
15   2800 LaSalle Plaza                                                   Jeffrey B. Jensen
     800 LaSalle Avenue                                 jeff.jensen@huschblackwell.com
16   Minneapolis, MN 55402–2015                                 Michael Martinich-Sauter
     T: (612) 349–8500                    Michael.martinich-sauter@huschblackwell.com
17   F: (612) 339–4181                              8001 Forsyth Boulevard, Suite 1500
                                                                    St. Louis, MO 63105
18                                                                      T: (314) 380-1500
                                                                        F: (314) 480-1505
19

20

21

22

23

24

25

26
     JOINT STATUS REPORT
                                              -2-                   KILPATRICK TOWNSEND & STOCKTON LLP
                                                                      1420 FIFTH AVENUE, SUITE 3700
                                                                            SEATTLE, WA 98101
     CASE NO. 2:21-CV-01399-LK                                               TEL: (206) 626-7713
                                                                             FAX: (206) 260-8946
